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                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF DELAWARE


WILLIAM BLAUER,                          }
                                         )
                                         }
                     Plaintiff,          )
                                         }       Civ. No. 09-934-SLR
        v.                               }
                                         }
ZUCKER,GOLDBERG,&                        )
ACKERMAN, LLC                            )
                                         }
                     Defendant.          )


                                  MEMORANDUM ORDER

        At Wilmington this 'day of March, 2011, having reviewed the motion to

disrniss 'filed by defendant Zucker, Goldberg & Ackerman, LLC ("ZGA"), as well as the

papers filed in connection therewith;

        IT IS ORDERED that said motion (0.1. 16) is granted, as follows:

        1. Background. On December 7,2009, plaintiff filed a complaint against ZGA 1

for violating Sections 1692d, 1692e, and 1692f of the Fair Debt Collection Practices Act

(UFDCPA"). (0.1. 1) The complaint alleges that ZGA harassed plaintiff using

misrepresentations and unfair means to collect a debt owed by plaintiffs daughter.

(0.1. 1 at,-r 28)

       2. On or about October 22, 2009, ZGA mailed to plaintiff a cover letter along

with the New Jersey foreclosure complaint ("Foreclosure Complaint") and New Jersey


       1ZGA is a law firm representing the mortgagee, Wells Fargo Bank, N.A., in the
foreclosure action.

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summons ("Foreclosure Summons"). (Id. at 1111) The cover letter and summons were

addressed only to "Christy A. Blaeuer." (0.1. 1, ex. A) The Foreclosure Complaint itself

was addressed to "Christy A. Blauer" and "Mr. Blauer, Husband of Christy A. Blauer."

(ld.) Paragraph 9a explained that Mr. Blauer, Husband of Christy A. Blauer, was joined

as a defendant to the foreclosure action for any martial and/or possesory interests he

may have in the property. (Id., ex. A at 119a)2

       3. Shortly after receiving the mailing, plaintiff called ZGA and spoke with

Leonard Zucker ("Zucker"). (Id. at 1121) Plaintiff informed Zucker that his daughter had

taken the last name of "Williams" and lived at the property subject to foreclosure, not at

his Delaware address. (Id.) As a result of the call, the mailings were directed away

from plaintiffs Delaware address and the Foreclosure Summons was amended to

include "Christy A. Blauer AlKlA Christy A. Williams" and "Mr. Blauer, Husband of

Christy Blauer" of New Jersey (hereinafter, the "Amended Foreclosure Summons").

(/d., ex. C)

       4. Plaintiff has not answered, or otherwise defended against, the Foreclosure

Complaint. (0.1. 16 at 8)

       5. Standard of Review. Rule 12(b)(6) permits a party to move to dismiss a

complaint for failure to state a claim upon which relief can be granted. Fed. R. Civ. P.

12(b)(6).

       6. A well-pleaded complaint must contain more than mere labels and

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        2 Plaintiff does not own any property in New Jersey and was not a borrower
under the mortgage instrument with his daughter for the property involved in this action.
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(0.1. 1 at 1119)

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conclusions. See Ashcroft v. Iqbal, -U.S.- , 129 S.Ct. 1937 (2009); Bell Atlantic Corp.

v.   Twombly, 550 U.S. 544 (2007). When determining whether dismissal is appropriate,

the court conducts a two-part analysis. Fowler v. UPMC Shadyside, 578 F.3d 203,210

(3d Cir. 2009). First, the factual and legal elements of a claim are separated. Id. The

court must accept all of the complaint's well-pleaded facts as true, but may disregard

any legal conclusions. Id. at 210-11. Second, the court must determine whether the

facts alleged in the complaint are sufficient to show that plaintiff has a "plausible claim

for relief." Id. at 211; see also Iqbal, 129 S.Ct. at 1949; Twombly, 550 U.S. at 570. In

other words, the complaint must do more than allege plaintiff's entitlement to relief;

rather, it must "show" such an entitlement with its facts.

         7. A claim is facially plausible when its factual content allows the court to draw a

reasonable inference that the defendant is liable for the misconduct alleged. Iqbal, 129

S.Ct. at 1949 (citing Twombly, 550 U.S. at 570). The plausibility standard "asks for

more than a sheer possibility that a defendant has acted unlawfully." Id. "Where a              I
complaint pleads facts that are 'merely consistent with' a defendant's liability, it 'stops     I
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short of the line between possibility and plausibility of 'entitlement to relief.'" Id.

         8. The assumption of truth is inapplicable to legal conclusions or to "[t]hreadbare
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recitals of the elements of a cause of action supported by mere conclusory statements."

Id. "[W]here the well-pleaded facts do not permit the court to infer more than a mere

possibility of misconduct, the complaint has alleged - but it has not shown - that the
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pleader is entitled to relief." Id. (quoting Fed. R. Civ. P. 8(a)(2».

         9. Discussion. Congress enacted the FDCPA in 1977 "to eliminate abusive

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debt collection practices by debt collectors" and "insure that those debt collectors who

refrain from using abusive debt collection practices are not competitively

disadvantaged." 15 U.S.C. § 1692(e). The Third Circuit has since adopted the "least

sophisticated debtor" standard in determining whether communications from a lender to

a debtor have violated the FDCPA. See Brown v. Card Service Center, 464 F.3d 450,

453-54 (3d Cir. 2006); see Wilson v. Quadramed Corp., 225 F.3d 350, 354 (applying

the least sophisticated debtor standard to the notice provision of the Act, § 1692g);

Graziano v. Harrison, 950 F.2d 107, 111 (3d Cir. 1991) (holding that "notice under the

Act is to be interpreted from the perspective of the 'least sophisticated debtor."'). While

U[t]he least sophisticated debtor standard requires more than 'simply examining whether

particular language would deceive or mislead a reasonable debtor,'" it precludes liability

for '''bizarre or idiosyncratic interpretations of collection notices by preserving a quotient

of reasonableness and presuming a basic level of understanding and willingness to

read with care.'" Brown v. Card Service Center, 464 F.3d at 454 (quoting Quadramed,

225 F.3d at 354-55).

       10. Defendant argues that plaintiff knew, or reasonably should have known, that

defendant was not trying to collect a debt from him and, therefore, plaintiff lacks

standing. (0.1. 16 at 5; 0.1. 19 at 5); see Kaniewski v. Nat'l Action Financial Services,

678 F. Supp. 2d 541, 546 (E.D. Mich. 2009) (holding that a plaintiff who knew that they

were not the subject of defendant's debt collection could not sustain a claim under §§

1692e and 1692f); see also Kujawa v. Palisades Collection LLC., 614 F. Supp. 2d 788

(E.D. Mich. 2008). The court agrees. In Kujawa, the court found that the plaintiff knew



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that he was not the subject of a debt collection because the social security number

listed on the judgment lien was not his and because he did not owe a debt to the

creditor. The court held that even though the plaintiff and debtor shared the same

name, this knowledge informed the plaintiff that he was not being sued. Id. at 791-792.

       11. This case provides less chance for confusion than Kujawa. The cover letter

and original Foreclosure Summons were only addressed to Christy A. Blauer. The

Amended Foreclosure Summons made reference to "Mr. Blauer, Husband of Christy

Blauer" of New Jersey and was sent to the New Jersey property. The only document

sent to the Delaware address and to include any reference to Mr. Blauer's name was

the Foreclosure Complaint. Each time the name "Mr. Blauer" appears in the complaint,

it is followed by the designation "husband of Christy A. Blauer." Contrary to plaintiffs

assertions, the party designation in the complaint cannot reasonably be perceived as

clerical error. The word husband appears five times in the Foreclosure Complaint

once in the party caption on the first page; and four times in paragraph 9a. Paragraph

9a further explains the possible marital impact for the husband. (D.1. 1, ex. A at 1l9a)

Even if, from the perspective of the least sophisticated debtor, the remaining language
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in paragraph 9a was complex and illusive, multiple iterations of the word "husband"

were not.
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      12. Moreover, like in Kujawa, plaintiff knew he did not owe a debt to the creditor
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and "is not and never was a borrower under the mortgage instrument" for his daughter's

New Jersey property. (D.1. 1 at 1l19) The court finds that plaintiffs §§ 1692e and
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1692f claims fail. 3 Plaintiff has failed to satisfy the plausibility standard and allege

"more than a sheer possibility that a defendant has acted unlawfully." Iqbal, 129 S.Ct.

at 1949 (citing Twombly, 550 U.S. at 570). Instead, plaintiff's assertions amount to a

list of merely possible scenarios alleging - but failing to show - that he is entitled to

relief.4 Id. (quoting Fed. R. Civ. P. 8(a)(2».

       13. Even assuming, arguendo, that defendant violated one or more provisions of

the FDCPA, defendant asserts a bona fide error defense provided in 15 U.S.C. §

1596k(c). Section 1596k(c) states that a debt collector may avoid liability if it "shows

by a preponderance of evidence that the violation was not intentional and resulted from

a bona fide error notwithstanding the maintenance of procedures reasonably adapted to

avoid any such error."

       14. A court may appropriately "dismiss a complaint based on an affirmative

defense when an affirmative defense is 'apparent on the face of a complaint.'" Oragotta

v. West View Sav. Bank, 395 Fed. Appx. 828, 831 (3d. Cir. 2010) (quoting Rycoline
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Prods., Inc. v. C & W Unlimited, 109 F.3d 883,886 (3d Cir. 1997». Exhibits attached to
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        3 Plaintiff's § 1692d claim fails for similar reasoning. The FDCPA does not allow
a party to recover for violations in documents addressed to someone else. Burdett v.
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Harrah's Kansas Casino Corp., 294 F. Supp. 2d 1215, 1227 (D. Kans. 2003) (citing
Oeweyv. AssociatedCol/ectors Inc., 927 F.Supp. 1172, 1174 (W.O. Wis. 1996».
Plaintiff is not "Mr. Blauer, Husband of Christy A. Blauer" and denies that such a person
exists. (0.1. 1 at,-r 14) The foreclosure action was only directed at Christy A. Blauer
and a non-existent legal fiction. Thus, the action could not harm, oppress or abuse
plaintiff under § 1692d of the FDCPA.

      4 In response to the motion to dismiss, plaintiff argues that he "may be able to
prove a set [of] facts to obtain recovery ... for defendant's false and misleading
statements," "may prove that defendant intentionally failed to properly amend the
complaint. ... " and has possibly "alleged sufficient facts to prove defendant dunned the
wrong person." (0.1. 17 at 7)

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the complaint are considered a part of the complaint. See Fed. R. Civ. P. 10(c).

         15. The complaint, inclusive of the exhibits, supports defendant's affirmative

defense. The cover letter and original Summons were addressed only to "Christy A.

Blaeuer." (D.I. 1, ex. A) The only document that was mailed to plaintiff's Delaware

address and made any reference to plaintiff's name contained the designation

"husband of Christy A. Blauer" after each of the five instances. Id. After plaintiff's call

to defendant, the mailings were directed away from plaintiff's Delaware address and the

Foreclosure Summons was amended to reflect information learned during the call. (ld.,

ex. C)

         16. Conclusion. For the reasons stated above, the court finds that plaintiff

knew, or reasonably should have known, that the foreclosure action was not directed at

him. Therefore, the communications at issue could not harass, oppress or abuse

plaintiff. Consequently, defendant's motion to dismiss for failure to state a claim is

granted. 5




                                                  United States   Istnct Judge




       5 Defendant's motion to dismiss was also granted by the District of New Jersey in
a related proceeding. See Williams v. Zucker, Goldberg & Ackerman, LLC., No. 09-
6177 (WJM), 2011 WL 843943 (D.N.J. March 8, 2011).

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